Case 1:12-cv-00949-CMA-BNB Document 11 Filed 04/27/12 USDC Colorado Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Christine M. Arguello

  Civil Action No. 12-cv-00949-CMA-BNB

  SHANNON MORNEAU,

          Plaintiff,

  v.

  PARK COUNTY SHERIFF,
  FRED WEGENER,
  CAPTAIN MULDOON, and
  SGT. SCOTT THEOBALD,

          Defendant.


                         ORDER OF DISMISSAL WITH PREJUDICE


          This matter is before the Court on the parties’ Stipulation for Dismissal With

  Prejudice (Doc. # 10), signed by the attorneys for the parties hereto. Upon review of the

  Stipulation, and the Court being fully advised, it is

          ORDERED that the Complaint and all claims arising out of the captioned matter

  are hereby DISMISSED WITH PREJUDICE, each party to pay her or his own costs and

  fees.

          DATED: April     27 , 2012

                                                    BY THE COURT:



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                                                    CHRISTINE M. ARGUELLO
                                                    United States District Judge
